               Case 1:18-cr-00167-ELH Document 95 Filed 07/30/20 Page 1 of 1
                                                           U.S. Department of Justice
                                                           United States Attorney
                                                           District of Maryland

Paul Riley                                                 Suite 400                        DIRECT: 410-209-4959
Assistant United States Attorney                           36 S. Charles Street               MAIN: 410-209-4800
Paul.Riley@usdoj.gov                                       Baltimore, MD 21201-3119            FAX: 410-962-3091



                                                              July 30, 2020
BY ECF

The Honorable Ellen L. Hollander
United States District Judge
United States District Court
for the District of Maryland
101 West Lombard Street
Baltimore, MD 21201

Re:        United States v. Steven Cole, Crim. No. ELH-18-167

Dear Judge Hollander:
        I write on behalf of the Government in the above-referenced matter to inform the Court
that the Government will concede that Defendant’s body mass index (BMI) above 30 constitutes
an extraordinary and compelling reason warranting a reduction sentence. The Government last
night received guidance from the Department of Justice interpreting the updated CDC guidance
of June 25, 2020. This CDC guidance broadened the definition of some of the conditions the
CDC states are risk factors, including obesity. 1 The Department continues to follow the CDC’s
guidance in determining whether an “extraordinary and compelling reason” exists.
       Nevertheless, for all of the reasons explained in the Government’s Response and Sur-
Reply, the Court should deny Defendant’s motion.

                                                           Respectfully submitted,

                                                           Robert K. Hur
                                                           United States Attorney

                                                             /s/
                                                  By:      Paul A. Riley
                                                           Assistant United States Attorney

CC: All counsel (by ECF)




           1
           Obesity was previously based on a BMI of 40 and above; the June 25, 2020 guidance amended the BMI
threshold to 30 and above.
